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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

FORT SILL APACHE TRIBE                 )
                                       )
               Plaintiff,              )
                                       )
v.                                     )       Civil Action No. 14–0958 (RMC)
                                       )
NATIONAL INDIAN GAMING                 )
COMMISSION, et al.,                    )
                                       )
               Defendants.             )
                                       )

                                              ORDER

       Having considered Plaintiff’s Consent Motion for Additional Modification of Remaining

Briefing Schedule, and the premises of this case, it is, this   day of September, 2019,

       ORDERED, that Plaintiff’s Motion be, and the same hereby is, GRANTED; and it is

       FURTHER ORDERED, that the briefing schedule is hereby modified as follows:

       1. Plaintiff’s Response to Defendants’ Cross Motion for Summary Judgment,

           and Reply to Defendants’ Response to Plaintiff’s Motion for Summary

           Judgment, from September 27, 2019 to November 8, 2019; and

       2. Defendants’ Reply to Plaintiff’s Response to Defendants’ Cross Motion for

           Summary Judgment, from October 18, 2019 to December 13, 2019.




                                               ROSEMARY C. COLLYER
                                               UNITED STATES DISTRICT JUDGE


Copies to Counsel
via ECF
